Case 1:18-cv-10472-TLL-PTM ECF No. 36 filed 06/01/18        PageID.646    Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                        NORTHERN DIVISION

ADAM KANUSZEWSKI, et al.,
                                              Case No. 1:18-cv-10472
                     Plaintiffs,              Honorable Thomas L Ludington
vs.

MICHIGAN DEPARTMENT OF HEALTH AND
HUMAN SERVICES, et al.,

               Defendants.
_______________________________________________/
  ORDER DENYING AS MOOT MOTIONS TO DISMISS AS PLAINTIFF
               FILED FIRST AMENDED COMPLAINT

      On April 30, 2018, Plaintiff filed their first amended complaint, ECF No. 26,

per Fed. Rules of Civil Procedure 15(a)(1)(B) in response to both Defendant

Michigan Neonatal Biobank, Inc. and Antonio Yancey=s motion to dismiss, ECF

No. 15, and Mary Kleyn, Sarah Lyon-Callo, Nick Lyons, Michigan Department of

health and Human Services and Sandip Shah=s Motion to Dismiss, ECF No. 21. As

a result of the filing of the first amended complaint, both motions to dismiss will

be denied as moot.

      Accordingly, it is ORDERED that Defendants= motions to dismiss, ECF No.

15 and 21 are DENIED AS MOOT.
Case 1:18-cv-10472-TLL-PTM ECF No. 36 filed 06/01/18                                     PageID.647   Page 2 of 2



      It is further ORDERED that the hearing scheduled for July 25, 2018 is

CANCELED.



                                                     s/Thomas L. Ludington
                                                     THOMAS L. LUDINGTON
                                                     United States District Judge
Dated: June 1, 2018



                                               PROOF OF SERVICE

                      The undersigned certifies that a copy of the foregoing order was served
                      upon each attorney or party of record herein by electronic means or first
                      class U.S. mail on June 1, 2018.

                                                        s/Kelly Winslow
                                                        KELLY WINSLOW, Case Manager
